                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                            WESTERN DIVISION



 UNITED STATES OF AMERICA,
               Plaintiff,                              No. CR12-4009-MWB
 vs.                                             ORDER CONCERNING
                                             MAGISTRATE’S REPORT AND
 JESSICA LYNN TRAN,                        RECOMMENDATION REGARDING
                                               DEFENDANT’S MOTION TO
               Defendant.                            SUPPRESS
                                ____________________


                      I. INTRODUCTION AND BACKGROUND
       On February 22, 2012, a Superseding Indictment was returned against defendant
Jessica Lynn Tran, charging her with possessing marijuana with intent to distribute within
1000 feet of a school, in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(D), and 860, and
possessing a firearm in furtherance of a drug trafficking crime, in violation of 18 U.S.C.
§ 924(c).   On April 26, 2012, Tran filed a Motion to Suppress which she amended on
May 3, 2012. In her motion, Tran seeks to suppress evidence obtained from her residence
following the execution of search warrant. The prosecution filed a timely resistance to
Tran’s motion.
       Tran’s Motion to Suppress was referred to Chief United States Magistrate Judge
Paul A. Zoss, pursuant to 28 U.S.C. § 636(b). Judge Zoss conducted an evidentiary
hearing, and then filed a Report and Recommendation in which he recommends Tran’s
Motion to Suppress be denied. Judge Zoss concluded that the police had the right to enter
Tran’s residence to arrest her boyfriend, Gene Boykin. Judge Zoss further found that the
police observed in plain sight a gun and drugs while arresting Boykin.. Therefore, Judge



   Case 5:12-cr-04009-MWB-KEM          Document 61      Filed 07/18/12    Page 1 of 3
Zoss concluded that the search of Tran’s home did not violate the Fourth Amendment and
the evidence resulting from that search should not be suppressed. Neither the prosecution
nor Tran have filed objections to Judge Zoss’s Report and Recommendation.


                                II. LEGAL ANALYSIS
      I review the magistrate judge’s report and recommendation pursuant to the statutory
standards found in 28 U.S.C. § 636(b)(1):
             A judge of the court shall make a de novo determination of
             those portions of the report or specified proposed findings or
             recommendations to which objection is made. A judge of the
             court may accept, reject, or modify, in whole or in part, the
             findings or recommendations made by the magistrate judge.
             The judge may also receive further evidence or recommit the
             matter to the magistrate judge with instructions.
28 U.S.C. § 636(b)(1) (2006); see Fed. R. Civ. P. 72(b) (stating identical requirements);
N.D. IA. L.R. 7.1 (allowing the referral of dispositive matters to a magistrate judge but
not articulating any standards to review the magistrate judge’s report and
recommendation). While examining these statutory standards, the United States Supreme
Court explained:
             Any party that desires plenary consideration by the Article III
             judge of any issue need only ask. Moreover, while the statute
             does not require the judge to review an issue de novo if no
             objections are filed, it does not preclude further review by the
             district judge, sua sponte or at the request of a party, under a
             de novo or any other standard.
Thomas v. Arn, 474 U.S. 140, 154 (1985). Thus, a district court may review de novo any
issue in a magistrate judge’s report and recommendation at any time. Id. If a party files
an objection to the magistrate judge’s report and recommendation, however, the district


                                            2


   Case 5:12-cr-04009-MWB-KEM          Document 61      Filed 07/18/12     Page 2 of 3
court must “make a de novo determination of those portions of the report or specified
proposed findings or recommendations to which objection is made.”                28 U.S.C.
§ 636(b)(1). In the absence of an objection, the district court is not required “to give any
more consideration to the magistrate’s report than the court considers appropriate.”
Thomas, 474 U.S. at 150.
       In this case, no objections have been filed. As a result, I have reviewed Judge
Zoss’s report and recommendation under a clearly erroneous standard of review. See
Grinder v. Gammon, 73 F.3d 793, 795 (8th Cir. 1996) (noting when no objections are
filed and the time for filing objections has expired, “[the district court judge] would only
have to review the findings of the magistrate judge for clear error”); Taylor v. Farrier, 910
F.2d 518, 520 (8th Cir. 1990) (noting the advisory committee’s note to Fed. R. Civ. P.
72(b) indicates “when no timely objection is filed the court need only satisfy itself that
there is no clear error on the face of the record”). After conducting my review, I am not
“‘left with [a] definite and firm conviction that a mistake has been committed,’” and finds
no reason to reject or modify the magistrate judge’s recommendation. Anderson v. City
of Bessemer City, 470 U.S. 564, 573-74 (1985) (quoting United States v. U.S. Gypsum
Co., 333 U.S. 364, 395 (1948)).          Therefore, I accept Judge Zoss’s Report and
Recommendation and orders that defendant Tran’s Motion to Suppress is denied.
       IT IS SO ORDERED.
       DATED this 18th day of July, 2012.


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                                                  MARK W. BENNETT
                                                  U. S. DISTRICT COURT JUDGE
                                                  NORTHERN DISTRICT OF IOWA



                                             3


   Case 5:12-cr-04009-MWB-KEM           Document 61       Filed 07/18/12    Page 3 of 3
